                                 Exhibit B

                             No Liability Claims




DOGS LA:316871.1 91893/002
                                                 Claim
      Name of Claimant             Claim #      Amount                          Reason for Disallowance
AIG Property Casualty, Inc. and
its Affiliates Identified on the
                                                               The Debtors have no liability for this claim based upon a
Addendum hereto
                                     41      UNLIQUIDATED      review of their books and records.
                                                               Taxes are owed by a predecessor entity for which the
Alameda County Tax Collector        415            $1,184.52   Debtors have no successor liability
                                                               Taxes are owed by a predecessor entity for which the
Clark County Assessor               360             $351.69    Debtors have no successor liability


                                                               $7,083.46 is for taxes are owed by a predecessor entity for
                                                               which the Debtors have no successor liability. $7,245.33 is
County of Orange                    379           $14,328.79   for 2018 taxes which were paid on 8/3/18.


                                                               $4,795.70 is for taxes are owed by a predecessor entity for
Contra Costa County Treasurer-                                 which the Debtors have no successor liability. $797.60 is
Tax Collector                       402            $5,593.30   for 2018 taxes which were paid on 8/16/18.
                                                               The Debtors have no liability for this claim based upon a
Jack A D Ambrosio                   292             $158.65    review of their books and records.
                                                               Taxes are owed by a predecessor entity for which the
Michele W. Shafe                    366             $351.69    Debtors have no successor liability

                                                               The Debtors have no liability for the administrative
                                                               portion of this claim based upon a review of their books
Mississippi Department of                                      and records. Additionally, this claim is for the period prior
Employment Security                 107            $2,839.44   to the Debtor's 2009 Chapter 11 filing.

                                                               The Debtors have no liability for the administrative
                                                               portion of this claim based upon a review of their books
Mississippi Department of                                      and records. Additionally, this claim is for the period prior
Employment Security                 107                $0.09   to the Debtor's 2009 Chapter 11 filing.


New York State Department of                                   The Debtors have no liability for this claim based upon a
Taxation and Finance                386           $37,692.99   review of their books and records.
New York State Department of                                   The Debtors have no liability for this claim based upon a
Taxation and Finance                387            $9,219.55   review of their books and records.

                                                               Claim extinguished pursuant to the Plan of
                                                               Reorganization. New notes have been issued pursuant to
The Abate Trust                     183          $202,201.33   the Plan.

                                                               Claim extinguished pursuant to the Plan of
                                                               Reorganization. New notes have been issued pursuant to
The Abate Trust                     185           $13,088.61   the Plan.

                                                               Claim extinguished pursuant to the Plan of
                                                               Reorganization. New notes have been issued pursuant to
The Abate Trust                     185          $189,112.72   the Plan.

                                                               Claim extinguished pursuant to the Plan of
                                                               Reorganization. New notes have been issued pursuant to
The Abate Trust                     186            $1,266.13   the Plan.
                                                 Claim extinguished pursuant to the Plan of
                                                 Reorganization. New notes have been issued pursuant to
The Abate Trust              186   $200,935.20   the Plan.

                                                 Claim extinguished pursuant to the Plan of
The Abate Trust, Robert P.                       Reorganization. New notes have been issued pursuant to
Abate, Trustee               184   $202,201.33   the Plan.




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